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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



MASIH ALINEJAD;

               Plaintiff,

     v.                                             Civil Action No: 1:19-cv-03599-GMH

THE ISLAMIC REPUBLIC OF IRAN et al..;

               Defendants.



                                INDEX TO EXHIBITS TO
                            MOTION FOR DEFAULT JUDGMENT


 Exhibit No.      Description
     1            Declaration of Masih Alinejad
     2            Declaration of Kambiz Foroohar
     3            Declaration of Roya Hakakian
     4            Declaration of Ramin Ahmadi
     5            Declaration of Mehrangiz Kar
     6            Masih Alinejad Certificate of Naturalization
     7            Photo of Masih Alinejad and her brother Alireza on a rice farm in the village
                  of Ghomikola, Iran in 2007
     8            Swiss Embassy Certification of Service of Process on Defendants
     9            Plaintiff’s Offer to Arbitrate and Electronic U.S.P.S. Certified Mail Return
                  Receipt
     10           Nahid Siamdoust, “‘Jesus’ vs. Ahmadinejad”, TIME (May 7, 2008)
     11           Masih Alinejad Profile, STRIVING FOR HUMAN RIGHTS
     12           Julia Carpenter, “Iranian Women Shed Hijabs for ‘Stealthy Freedom’
                  Facebook Page”, THE WASHINGTON POST (May 16, 2014)
     13           “My Stealthy Freedom” group page, FACEBOOK.COM
     14           “Iranians Protest Over Acid Attacks on Women, Apparently for Not
                  Wearing Veils” ABC NEWS (Oct. 22, 2014)
     15           “Secretary Pompeo’s Meeting with Iranian Women’s Rights Activist Masih
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     16           Sonia Elks, “Iranian Women Defy Prison Threats by Sending Veil Photos:
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33     “Brother of Anti-Hijab Activist Sentenced to Eight Years in Iran”, RADIO
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